          Case 1:21-cv-03217-CJN Document 15-2 Filed 04/22/22 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

MARK MEADOWS,                         )
                                      )
              Plaintiff,              )
                                      )
     v.                               )     Case No. 1:21-cv-3271-CJN
                                      )
NANCY PELOSI, et al.                  )
                                      )
                                      )




                                 Exhibit A
                  Case 1:21-cv-03217-CJN Document 15-2 Filed 04/22/22 Page 2 of 3
Message
From:           Mark Meadows [congressnc@gmail.com]
Sent:           12/6/2020 4:39:40 PM
To:             Jason Miller [jmiller@donaldtrump.com]
Subject:        Re: [EXTERNAL]2020-11-20 Chesebro memo on real deadline2.pdf


Got it

Sent from my iPhone


           On Dec 6, 2020, at 4:36 PM, Jason Miller <jmiller@donaldtrump.com> wrote:


           Nope, we need the meeting/call - was just letting you know we'd been working the PR angle.

           Free to talk whenever you are tomorrow, Chief.


                  On Dec 6, 2020, at 4:34 PM, Mark Meadows <congressnc@gmail.com> wrote:

                   If you are on it then never mind the meeting. We just need to have someone
                  coordinating the electors for states

                  Sent from my iPhone


                         On Dec 6, 2020, at 4:18 PM, Jason Miller
                         <jmiller@donaldtrump.com> wrote:


                         You bet. So you know, Justin and I did on-background calls on this
                         very subject with Maria, Levin, Chuck Todd and Margaret
                         Brennan yesterday (I might be missing 1-2 others).

                         Justin - we should just do a national press call tightly focused on
                         this tomorrow, no?

                         JM


                                 On Dec 6, 2020, at 4:11 PM, Mark Meadows
                                 <congressnc@gmail.com> wrote:


                                 Let's have a discussion about this tomorrow



                                 Sent from my iPhone




                                                                                                        MM003769
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                        <2020-11-20 Chesebro memo on real
                        deadline2.pdfl
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